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                                    1677
                                    EXHIBIT 11




 From: Ned Pillersdorf <pillersn@gmail.com>
 Date: February 6, 2024 at 12:25:20 PM EST
 Subject: Baker, et al v. Blackhawk, et al
 To: Johnson, Kristeena <Kristeena.Johnson@DINSMORE.COM>,Darrell Herald
 <dah41339@yahoo.com>,Larkin, R. Clay <clay.larkin@dentons.com>

 Bruce Dryden called today and said his wife, Amy, is too ill to give her deposition
 tomorrow but he will be there. -Debbie

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 Pillersdorf Law Offices
 124 West Court Street
 Prestonsburg, Kentucky 41653

 Phone: 606-886-6090
 Fax: 606-886-6148




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